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                               45 C.F.R. § 147.130(a)(1)
                           Coverage of preventive health services.

(a) Services —


(1) In general. Beginning at the time described in paragraph (b) of this section and subject
to §§ 147.131, 147.132, and 147.133, a group health plan, or a health insurance issuer
offering group or individual health insurance coverage, must provide coverage for and must
not impose any cost-sharing requirements (such as a copayment, coinsurance, or a
deductible) for —

(i) Evidence-based items or services that have in effect a rating of A or B in the current
recommendations of the United States Preventive Services Task Force with respect to the
individual involved (except as otherwise provided in paragraph (c) of this section);

(ii) Immunizations for routine use in children, adolescents, and adults that have in effect a
recommendation from the Advisory Committee on Immunization Practices of the Centers
for Disease Control and Prevention with respect to the individual involved (for this
purpose, a recommendation from the Advisory Committee on Immunization Practices of
the Centers for Disease Control and Prevention is considered in effect after it has been
adopted by the Director of the Centers for Disease Control and Prevention, and a
recommendation is considered to be for routine use if it is listed on the Immunization
Schedules of the Centers for Disease Control and Prevention);

(iii) With respect to infants, children, and adolescents, evidence-informed preventive care
and screenings provided for in comprehensive guidelines supported by the Health
Resources and Services Administration; and

(iv) With respect to women, such additional preventive care and screenings not described in
paragraph (a)(1)(i) of this section as provided for in comprehensive guidelines supported by
the Health Resources and Services Administration for purposes of section 2713(a)(4) of the
Public Health Service Act, subject to §§ 147.131, 147.132, and 147.133.
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                               45 C.F.R. § 147.131
    Accommodations in connection with coverage of certain preventive health services.

(a)–(b) [Reserved]

(c) Eligible organizations for optional accommodation. An eligible organization is an
organization that meets the criteria of paragraphs (c)(1) through (3) of this section.

(1) The organization is an objecting entity described in § 147.132(a)(1)(i) or (ii), or 45
CFR 147.133(a)(1)(i) or (ii).

(2) Notwithstanding its exempt status under § 147.132(a) or 147.133, the organization
voluntarily seeks to be considered an eligible organization to invoke the optional
accommodation under paragraph (d) of this section; and

(3) The organization self-certifies in the form and manner specified by the Secretary or
provides notice to the Secretary as described in paragraph (d) of this section. To qualify as
an eligible organization, the organization must make such self-certification or notice
available for examination upon request by the first day of the first plan year to which the
accommodation in paragraph (d) of this section applies. The self-certification or notice
must be executed by a person authorized to make the certification or provide the notice on
behalf of the organization, and must be maintained in a manner consistent with the record
retention requirements under section 107 of ERISA.

(4) An eligible organization may revoke its use of the accommodation process, and its
issuer must provide participants and beneficiaries written notice of such revocation, as
specified herein.

(i) Transitional rule — If contraceptive coverage is being offered on January 14, 2019, by an
issuer through the accommodation process, an eligible organization may give 60–days
notice pursuant to section 2715(d)(4) of the PHS Act and § 147.200(b), if applicable, to
revoke its use of the accommodation process (to allow for the provision of notice to plan
participants in cases where contraceptive benefits will no longer be provided). Alternatively,
such eligible organization may revoke its use of the accommodation process effective on the
first day of the first plan year that begins on or after 30 days after the date of the
revocation.

(ii) General rule — In plan years that begin after January 14, 2019, if contraceptive
coverage is being offered by an issuer through the accommodation process, an eligible
organization’s revocation of use of the accommodation process will be effective no sooner
than the first day of the first plan year that begins on or after 30 days after the date of the
revocation.

(d) Optional accommodation — insured group health plans —
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(1) General rule. A group health plan established or maintained by an eligible organization
that provides benefits through one or more group health insurance issuers may voluntarily
elect an optional accommodation under which its health insurance issuer(s) will provide
payments for all or a subset of contraceptive services for one or more plan years. To invoke
the optional accommodation process:

(i) The eligible organization or its plan must contract with one or more health insurance
issuers.

(ii) The eligible organization must provide either a copy of the self-certification to each
issuer providing coverage in connection with the plan or a notice to the Secretary of the
Department of Health and Human Services that it is an eligible organization and of its
objection as described in § 147.132 or 147.133 to coverage for all or a subset of
contraceptive services.

(A) When a self-certification is provided directly to an issuer, the issuer has sole
responsibility for providing such coverage in accordance with § 147.130(a)(iv).

(B) When a notice is provided to the Secretary of the Department of Health and Human
Services, the notice must include the name of the eligible organization; a statement that it
objects as described in § 147.132 or 147.133 to coverage of some or all contraceptive
services (including an identification of the subset of contraceptive services to which
coverage the eligible organization objects, if applicable) but that it would like to elect the
optional accommodation process; the plan name and type (that is, whether it is a student
health insurance plan within the meaning of § 147.145(a) or a church plan within the
meaning of section 3(33) of ERISA); and the name and contact information for any of the
plan’s health insurance issuers. If there is a change in any of the information required to be
included in the notice, the eligible organization must provide updated information to the
Secretary of the Department of Health and Human Services for the optional
accommodation to remain in effect. The Department of Health and Human Services will
send a separate notification to each of the plan’s health insurance issuers informing the
issuer that the Secretary of the Deparement of Health and Human Services has received a
notice under paragraph (d)(1)(ii) of this section and describing the obligations of the issuer
under this section.

(2) If an issuer receives a copy of the self-certification from an eligible organization or the
notification from the Department of Health and Human Services as described in paragraph
(d)(1)(ii) of this section and does not have an objection as described in § 147.132 or
147.133 to providing the contraceptive services identified in the self-certification or the
notification from the Department of Health and Human Services, then the issuer will
provide payments for contraceptive services as follows —
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(i) The issuer must expressly exclude contraceptive coverage from the group health
insurance coverage provided in connection with the group health plan and provide separate
payments for any contraceptive services required to be covered under § 141.130(a)(1)(iv)
for plan participants and beneficiaries for so long as they remain enrolled in the plan.

(ii) With respect to payments for contraceptive services, the issuer may not impose any cost-
sharing requirements (such as a copayment, coinsurance, or a deductible), premium, fee, or
other charge, or any portion thereof, directly or indirectly, on the eligible organization, the
group health plan, or plan participants or beneficiaries. The issuer must segregate premium
revenue collected from the eligible organization from the monies used to provide payments
for contraceptive services. The issuer must provide payments for contraceptive services in a
manner that is consistent with the requirements under sections 2706, 2709, 2711, 2713,
2719, and 2719A of the PHS Act. If the group health plan of the eligible organization
provides coverage for some but not all of any contraceptive services required to be covered
under § 147.130(a)(1)(iv), the issuer is required to provide payments only for those
contraceptive services for which the group health plan does not provide coverage.
However, the issuer may provide payments for all contraceptive services, at the issuer’s
option.

(3) A health insurance issuer may not require any documentation other than a copy of the
self-certification from the eligible organization or the notification from the Department of
Health and Human Services described in paragraph (d)(1)(ii) of this section.

(e) Notice of availability of separate payments for contraceptive services — insured group
health plans and student health insurance coverage. For each plan year to which the
optional accommodation in paragraph (d) of this section is to apply, an issuer required to
provide payments for contraceptive services pursuant to paragraph (d) of this section must
provide to plan participants and beneficiaries written notice of the availability of separate
payments for contraceptive services contemporaneous with (to the extent possible), but
separate from, any application materials distributed in connection with enrollment (or re-
enrollment) in group health coverage that is effective beginning on the first day of each
applicable plan year. The notice must specify that the eligible organization does not
administer or fund contraceptive benefits, but that the issuer provides separate payments for
contraceptive services, and must provide contact information for questions and complaints.
The following model language, or substantially similar language, may be used to satisfy the
notice requirement of this paragraph (e) “Your [employer/institution of higher education]
has certified that your [group health plan/student health insurance coverage] qualifies for
an accommodation with respect to the Federal requirement to cover all Food and Drug
Administration-approved contraceptive services for women, as prescribed by a health care
provider, without cost sharing. This means that your [employer/institution of higher
education] will not contract, arrange, pay, or refer for contraceptive coverage. Instead,
[name of health insurance issuer] will provide separate payments for contraceptive services
that you use, without cost sharing and at no other cost, for so long as you are enrolled in
your [group health plan/student health insurance coverage]. Your [employer/institution of
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higher education] will not administer or fund these payments. If you have any questions
about this notice, contact [contact information for health insurance issuer].”

(f) Reliance —

(1) If an issuer relies reasonably and in good faith on a representation by the eligible
organization as to its eligibility for the accommodation in paragraph (d) of this section, and
the representation is later determined to be incorrect, the issuer is considered to comply
with any applicable requirement under § 147.130(a)(1)(iv) to provide contraceptive
coverage if the issuer complies with the obligations under this section applicable to such
issuer.

(2) A group health plan is considered to comply with any applicable requirement under
§ 147.130(a)(1)(iv) to provide contraceptive coverage if the plan complies with its
obligations under paragraph (d) of this section, without regard to whether the issuer
complies with the obligations under this section applicable to such issuer.

(g) Definition. For the purposes of this section, reference to “contraceptive” services,
benefits, or coverage includes contraceptive or sterilization items, procedures, or services,
or related patient education or counseling, to the extent specified for purposes of
§ 147.130(a)(1)(iv).

(h) Severability. Any provision of this section held to be invalid or unenforceable by its
terms, or as applied to any person or circumstance, shall be construed so as to continue to
give maximum effect to the provision permitted by law, unless such holding shall be one of
utter invalidity or unenforceability, in which event the provision shall be severable from this
section and shall not affect the remainder thereof or the application of the provision to
persons not similarly situated or to dissimilar circumstances.
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                                45 C.F.R. § 147.132
  Religious exemptions in connection with coverage of certain preventive health services.

(a) Objecting entities.

(1) Guidelines issued under § 147.130(a)(1)(iv) by the Health Resources and Services
Administration must not provide for or support the requirement of coverage or payments
for contraceptive services with respect to a group health plan established or maintained by
an objecting organization, or health insurance coverage offered or arranged by an objecting
organization, to the extent of the objections specified below. Thus the Health Resources
and Service Administration will exempt from any guidelines’ requirements that relate to the
provision of contraceptive services:

(i) A group health plan and health insurance coverage provided in connection with a group
health plan to the extent the non-governmental plan sponsor objects as specified in
paragraph (a)(2) of this section. Such non-governmental plan sponsors include, but are not
limited to, the following entities —

(A) A church, an integrated auxiliary of a church, a convention or association of churches,
or a religious order.

(B) A nonprofit organization.

(C) A closely held for-profit entity.

(D) A for-profit entity that is not closely held.

(E) Any other non-governmental employer.

(ii) A group health plan, and health insurance coverage provided in connection with a
group health plan, where the plan or coverage is established or maintained by a church, an
integrated auxiliary of a church, a convention or association of churches, a religious order, a
nonprofit organization, or other non-governmental organization or association, to the
extent the plan sponsor responsible for establishing and/or maintaining the plan objects as
specified in paragraph (a)(2) of this section. The exemption in this paragraph applies to
each employer, organization, or plan sponsor that adopts the plan;

(iii) An institution of higher education as defined in 20 U.S.C. 1002, which is non-
governmental, in its arrangement of student health insurance coverage, to the extent that
institution objects as specified in paragraph (a)(2) of this section. In the case of student
health insurance coverage, this section is applicable in a manner comparable to its
applicability to group health insurance coverage provided in connection with a group
health plan established or maintained by a plan sponsor that is an employer, and references
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to “plan participants and beneficiaries” will be interpreted as references to student enrollees
and their covered dependents; and

(iv) A health insurance issuer offering group or individual insurance coverage to the extent
the issuer objects as specified in paragraph (a)(2) of this section. Where a health insurance
issuer providing group health insurance coverage is exempt under this subparagraph (iv),
the group health plan established or maintained by the plan sponsor with which the health
insurance issuer contracts remains subject to any requirement to provide coverage for
contraceptive services under Guidelines issued under § 147.130(a)(1)(iv) unless it is also
exempt from that requirement.

(2) The exemption of this paragraph (a) will apply to the extent that an entity described in
paragraph (a)(1) of this section objects, based on its sincerely held religious beliefs, to its
establishing, maintaining, providing, offering, or arranging for (as applicable):

(i) Coverage or payments for some or all contraceptive services; or

(ii) A plan, issuer, or third party administrator that provides or arranges such coverage or
payments.

(b) Objecting individuals. Guidelines issued under § 147.130(a)(1)(iv) by the Health
Resources and Services Administration must not provide for or support the requirement of
coverage or payments for contraceptive services with respect to individuals who object as
specified in this paragraph (b), and nothing in § 147.130(a)(1)(iv), 26 CFR 54.9815–
2713(a)(1)(iv), or 29 CFR 2590.715–2713(a)(1)(iv) may be construed to prevent a willing
health insurance issuer offering group or individual health insurance coverage, and as
applicable, a willing plan sponsor of a group health plan, from offering a separate policy,
certificate or contract of insurance or a separate group health plan or benefit package
option, to any group health plan sponsor (with respect to an individual) or individual, as
applicable, who objects to coverage or payments for some or all contraceptive services based
on sincerely held religious beliefs. Under this exemption, if an individual objects to some
but not all contraceptive services, but the issuer, and as applicable, plan sponsor, are willing
to provide the plan sponsor or individual, as applicable, with a separate policy, certificate or
contract of insurance or a separate group health plan or benefit package option that omits
all contraceptives, and the individual agrees, then the exemption applies as if the individual
objects to all contraceptive services.

(c) Definition. For the purposes of this section, reference to “contraceptive” services,
benefits, or coverage includes contraceptive or sterilization items, procedures, or services,
or related patient education or counseling, to the extent specified for purposes of
§ 147.130(a)(1)(iv).

(d) Severability. Any provision of this section held to be invalid or unenforceable by its
terms, or as applied to any person or circumstance, shall be construed so as to continue to
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give maximum effect to the provision permitted by law, unless such holding shall be one of
utter invalidity or unenforceability, in which event the provision shall be severable from this
section and shall not affect the remainder thereof or the application of the provision to
persons not similarly situated or to dissimilar circumstances.
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                                45 C.F.R. § 147.133
    Moral exemptions in connection with coverage of certain preventive health services.

(a) Objecting entities.

(1) Guidelines issued under § 147.130(a)(1)(iv) by the Health Resources and Services
Administration must not provide for or support the requirement of coverage or payments
for contraceptive services with respect to a group health plan established or maintained by
an objecting organization, or health insurance coverage offered or arranged by an objecting
organization, to the extent of the objections specified below. Thus the Health Resources
and Service Administration will exempt from any guidelines’ requirements that relate to the
provision of contraceptive services:

(i) A group health plan and health insurance coverage provided in connection with a group
health plan to the extent one of the following non-governmental plan sponsors object as
specified in paragraph (a)(2) of this section:

(A) A nonprofit organization; or

(B) A for-profit entity that has no publicly traded ownership interests (for this purpose, a
publicly traded ownership interest is any class of common equity securities required to be
registered under section 12 of the Securities Exchange Act of 1934);

(ii) An institution of higher education as defined in 20 U.S.C. 1002, which is non-
governmental, in its arrangement of student health insurance coverage, to the extent that
institution objects as specified in paragraph (a)(2) of this section. In the case of student
health insurance coverage, this section is applicable in a manner comparable to its
applicability to group health insurance coverage provided in connection with a group
health plan established or maintained by a plan sponsor that is an employer, and references
to “plan participants and beneficiaries” will be interpreted as references to student enrollees
and their covered dependents; and

(iii) A health insurance issuer offering group or individual insurance coverage to the extent
the issuer objects as specified in paragraph (a)(2) of this section. Where a health insurance
issuer providing group health insurance coverage is exempt under paragraph (a)(1)(iii) of
this section, the group health plan established or maintained by the plan sponsor with
which the health insurance issuer contracts remains subject to any requirement to provide
coverage for contraceptive services under Guidelines issued under § 147.130(a)(1)(iv)
unless it is also exempt from that requirement.

(2) The exemption of this paragraph (a) will apply to the extent that an entity described in
paragraph (a)(1) of this section objects, based on its sincerely held moral convictions, to its
establishing, maintaining, providing, offering, or arranging for (as applicable):
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(i) Coverage or payments for some or all contraceptive services; or

(ii) A plan, issuer, or third party administrator that provides or arranges such coverage or
payments.

(b) Objecting individuals. Guidelines issued under § 147.130(a)(1)(iv) by the Health
Resources and Services Administration must not provide for or support the requirement of
coverage or payments for contraceptive services with respect to individuals who object as
specified in this paragraph (b), and nothing in § 147.130(a)(1)(iv), 26 CFR 54.9815–
2713(a)(1)(iv), or 29 CFR 2590.715–2713(a)(1)(iv) may be construed to prevent a willing
health insurance issuer offering group or individual health insurance coverage, and as
applicable, a willing plan sponsor of a group health plan, from offering a separate policy,
certificate or contract of insurance or a separate group health plan or benefit package
option, to any group health plan sponsor (with respect to an individual) or individual, as
applicable, who objects to coverage or payments for some or all contraceptive services based
on sincerely held moral convictions. Under this exemption, if an individual objects to some
but not all contraceptive services, but the issuer, and as applicable, plan sponsor, are willing
to provide the plan sponsor or individual, as applicable, with a separate policy, certificate or
contract of insurance or a separate group health plan or benefit package option that omits
all contraceptives, and the individual agrees, then the exemption applies as if the individual
objects to all contraceptive services.

(c) Definition. For the purposes of this section, reference to “contraceptive” services,
benefits, or coverage includes contraceptive or sterilization items, procedures, or services,
or related patient education or counseling, to the extent specified for purposes of
§ 147.130(a)(1)(iv).

(d) Severability. Any provision of this section held to be invalid or unenforceable by its
terms, or as applied to any person or circumstance, shall be construed so as to continue to
give maximum effect to the provision permitted by law, unless such holding shall be one of
utter invalidity or unenforceability, in which event the provision shall be severable from this
section and shall not affect the remainder thereof or the application of the provision to
persons not similarly situated or to dissimilar circumstances.
